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                                                                           ..... [1/c-.. ..ir

                                      U.S. DISTRICT COURT             Z'7ic
                                                                                       /).
                             SOUTHERN DISTRICT OF GEORGIA

                         SAVANNAH and STATESBORO DIVISi.l44

UNITED STATES OF AMERICA                        )



                                                )


       V.                                       )        DOCKET NOS               CR40 8-00063-001
                                                )
                                                                                  CR607-0003 1-003
JIMMY LEE EVERETT                               )




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        Before the Court is a Motion for Home Confinement and to Modify the Presentence

Investigation Report for Family Data (Doc. 87). The Court has reviewed the motion and Mr.

Everett's specific circumstances and finds no compelling reasons or authority to grant his requests.

The authority to determine the time and method of release for offenders is vested with the Bureau

of Prisons. "The authority of a district court to modify an imprisonment sentence is narrowly limited

by statute." United States v, Phillips, 597 F.3d 1190, 1194-95 (11' Cir. 2010); see also 18 U.S.C.

§ 3582(c).

        None of the statutory provisions apply to Everett; the Bureau of Prisons has not filed a

motion asking for a reduction due to Everett's age and circumstances, see id. § 3582(c)(1)(A); the

government has not filed a Rule 35 motion, see id. § 3582(c)(1)(B); and Everett's advisory guideline

range has not been lowered by a retroactive amendment, see id. § 3582(c)(2). Finally, the 14-day

time limit for any correction of the sentence due to the "arithmetical, technical, or other clear error,"

has passed. Fed. R. Crim. P. 35(a),

        The Court has also considered Defendant's request to direct the probation office to modify

his presentence investigation report to include additional information concerning his rearing.
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Defendant was afforded an opportunity to object to the presentence investigation report at the time

of sentencing on June 24, 2009. Neither Defendant nor defense counsel objected to the description

of Defendant's family history during the sentencing hearing. Further, the 14-day time limit for any

correction of the sentence due to the "arithmetical, technical, or other clear error," has passed. Fed.

R. Crim. P. 35(a), Under Fed. R. Crim. P. 36, the Court may at any time correct an error arising

from oversight or omission. Nevertheless, Defendant has presented no compelling reasons to modify

the presentence investigation report.

        Accordingly, Defendant's Motion for Home Confinement and to Modify the Presentence

Investigation Report for Family Data is DENIED.

        SO ORDERED, this         55,40   day of January, 2015.




                                                        William T. Moore, Jr.
                                                        Judge, U.S. District Court
